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                                                                              United States Courts
                                                                            Southern District of Texas
                                                                                     FILED
                            UNITED STATES DISTRICT COURT                         April 21, 2021
                             SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION                         Nathan Ochsner, Clerk of Court

UNITED STATES OF AMERICA                         §
                                                 §
v.                                               §        Criminal No.       4:21cr204
                                                 §
LEE RAY BOYKIN JR.                               §

                                          INDICTMENT

THE GRAND JURY CHARGES:

                                        COUNT ONE
                          Deprivation of Rights Under Color of Law
                                      (18 U.S.C. § 242)

       On or about August 7, 2020, in the Southern District of Texas, Houston Division, and

within the jurisdiction of the Court, the Defendant,

                                    LEE RAY BOYKIN JR.,

while acting under color of law as a Trooper with the Department of Public Safety, engaged in a

sexual act with Victim #1 without her consent, thereby willfully depriving Victim #1 of liberty

without due process of law, which includes the right to bodily integrity, a right secured and

protected by the Constitution and the laws of the United States. This act included aggravated

sexual abuse and kidnapping.

       In violation of 18 U.S.C. § 242.


                                       COUNT TWO
        Destruction, Alteration, or Falsification of Records in Federal Investigations
                                     (18 U.S.C. § 1519)

       On or about August 7, 2020, in the Southern District of Texas, Houston Division, and

within the jurisdiction of the Court, the Defendant,

                                    LEE RAY BOYKIN JR.,
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knowingly concealed, covered up, falsified, and made false entries in a record and document,

specifically dashboard and body worn camera recordings, body microphone recordings, radio

transmissions, and digital communications log, and with the intent to impede, obstruct, and

influence the investigation and proper administration of a matter within the jurisdiction of the

Federal Bureau of Investigation, an agency of the United States.

        In violation of 18 U.S.C. § 1519.


                                     COUNT THREE
                      Carry and Use of a Firearm in a Crime of Violence
                                 (18 U.S.C. § 924(c)(1)(A))

        On or about August 7, 2020, in the Southern District of Texas, Houston Division, and

within the jurisdiction of the Court, the Defendant,

                                    LEE RAY BOYKIN JR.,

did knowingly carry and use a firearm, that is, a Sig Saeur P320, 9mm, serial number 3206TXDPS,

during and in relation to, and did knowingly possess that firearm in furtherance of, a crime of

violence for which he may be prosecuted in a court of the United States, that is, the deprivation of

rights under color of law as charged in Count One of this Indictment, in violation of 18 U.S.C. §

242.

        All in violation of 18 U.S.C. § 924(c)(1)(A).


                                       COUNT FOUR
                          Deprivation of Rights Under Color of Law
                                      (18 U.S.C. § 242)

        On or about August 3, 2020, in the Southern District of Texas, Houston Division, and

within the jurisdiction of the Court, the Defendant,

                                    LEE RAY BOYKIN JR.,



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while acting under color of law as an officer with the Arcola Police Department, engaged in a

sexual act with Victim #2 without her consent, thereby willfully depriving Victim #2 of liberty

without due process of law, which includes the right to bodily integrity, a right secured and

protected by the Constitution and the laws of the United States. This act resulted in bodily injury

and included aggravated sexual abuse and kidnapping.

          In violation of 18 U.S.C. § 242.

                                          COUNT FIVE
           Destruction, Alteration, or Falsification of Records in Federal Investigations
                                        (18 U.S.C. § 1519)

          On or about August 3, 2020, in the Southern District of Texas and within the jurisdiction

of the Court, the Defendant,

                                     LEE RAY BOYKIN JR.,

knowingly concealed, covered up, falsified, and made false entries in a record and document,

specifically dashboard and body worn camera recordings, and body microphone recordings, and

with the intent to impede, obstruct, and influence the investigation and proper administration of a

matter within the jurisdiction of the Federal Bureau of Investigation, an agency of the United

States.

          In violation of 18 U.S.C. § 1519.

                                         COUNT SIX
                       Carry and Use of a Firearm in a Crime of Violence
                                  (18 U.S.C. § 924(c)(1)(A))

          On or about August 3, 2020, in the Southern District of Texas and within the jurisdiction

of the Court, the Defendant,

                                     LEE RAY BOYKIN JR.,

did knowingly carry and use a firearm, that is, a Sig Saeur P320, 9mm, serial number 3206TXDPS,



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during and in relation to, and did knowingly possess that firearm in furtherance of, a crime of

violence for which he may be prosecuted in a court of the United States, that is, the deprivation of

rights under color of law as charged in Count Four of this Indictment, in violation of 18 U.S.C. §

242.

        All in violation of 18 U.S.C. § 924(c)(1)(A).



                                              A TRUE BILL


                                              Original Signature on File
                                              ________________________________
                                              GRAND JURY FOREPERSON




JENNIFER B. LOWERY
Acting United States Attorney

By: _____________________
SEBASTIAN EDWARDS
EUN KATE SUH
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